               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           ASHEVILLE DIVISION
                                1:12 cr 32-2


UNITED STATES OF AMERICA,                    )
                                             )
Vs.                                          )              ORDER
                                             )
DERRICK TIMOTHY DAVIS,                       )
                                             )
                Defendant.                   )
__________________________________           )


       THIS MATTER came on before the Court for the purpose of a Rule 11

proceeding on August 15, 2012. At that time, counsel for defendant and the Assistant

United States Attorney requested that the Rule 11 proceeding be continued until

August 16, 2012. Defendant is presently being held in custody and had not been

brought from the detention facility to the United States Courthouse in Asheville, NC

for the Rule 11 proceeding. It appearing that good cause has been shown for the

granting of such continuance.

                                     ORDER

       IT IS, THEREFORE, ORDERED that the Rule 11 proceeding in the above

entitled matter is continued until August 16, 2012.




      Case 1:12-cr-00032-MR-DLH     Document 87       Filed 08/17/12   Page 1 of 2
                                Signed: August 16, 2012




                                2



Case 1:12-cr-00032-MR-DLH   Document 87   Filed 08/17/12   Page 2 of 2
